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Attorneys for Defendants
SARAH ALONZO-CABARDO and
DOVIE BORGES
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAII

QUINTIN-JOHN D’AGIRBAUD, III, CIVIL NO. CV18-00021 JMS-WRP

Lo. CERTIFICATE OF SERVICE
Plaintiff,
RE: DEFENDANTS RESPONSE TO
VS. PLAINTIFF QUINTIN-JOHN
D’AGIRBAUD, IIT?S FIRST
REQUEST FOR ANSWERS TO
SARAH ALANZO, DOVIE BORGES, | INTERROGATORIES AND
NOLAN ESPINDA, SCOTT PRODUCTION OF DOCUMENTS TO
HARRINGTON, SHARI KIMITI, “DEFENDANT” STATE OF HAWAITI

TERESA MIKE, THOMAS EVANS, B.
ORNELLAS, STATE OF HAWATL,

Defendants.

 

 

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CERTIFICATE OF SERVICE
The undersigned hereby certifies that on the date indicated below, a copy of
DEFENDANTS RESPOND TO PLAINTIFF QUINTIN-JOHN D’ AGIRBAUD,
II’S FIRST REQUEST FOR ANSWERS TO INTERROGATORIES AND
PRODUCTION OF DOCUMENTS TO “DEFENDANT” STATE OF HAWAII
was served on the following party at his last known address via U. S. Mail, postage

prepaid as follows:

QUINTIN-JOHN D’ AGIRBAUD, II
Halawa Correctional Facility

99-902 Moanalua Road

Aiea, Hawaii 96701

Plaintiff Pro Se
DATED: Honolulu, Hawaii, September 24, 2019.
STATE OF HAWAII
CLARE E. CONNORS

Attorney General of Hawaii

/s/ John M. Cregor
JOHN M. CREGOR, JR.
Deputy Attorney General

Attorney for Defendants

SARAH ALONZO-CABARDO and
DOVIE BORGES

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